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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)


                                                                                                                     FILED
                                         UNITED STATES DISTRlCT COURT                                            2021 DEC 28
                                                                             for the                                CLERK
                                                                            District of lJ +a   h             U.S. DISTRICT COURT




                                                                                 )
                                                                                       Case No.     \·.-z.. \- tv-oo 1~ 9- ~ls
                                                                                                    (to be filled in by the Clerk's Office)
                                                                                 )
                              Plaintiff(s)                                       )
(Write the full name of each plaintiff who is filing this complaint.             )
If the names ofall the plaintiffe cannot fit in the space above,
please write "see attached" in the space and attach an additional
                                                                                -)
page with the full list of names.)                                               )
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                             Defendant(s)                                        )
(Write the full name of each defendant who is being sued. If the                 )
names of all the defendants cannot fit in the space above, please
write "see attached" in the space and attach an additional page
with the full list of names. Do not include addresses here.)



                                   COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                               (Prisoner Complaint)


                                                                            NOTICE

     Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
     electronic court files. Under this rule, papers filed with the court should not contain: an individual's full social
     security number or full birth date; the full name of a person known to be a minor; or a complete financial account
     number. A filing may include only: the last four digits of a social security number; the year of an individual's
     birth; a minor's initials; and the last four digits of a financial account number.

     Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
     other materials to the Clerk's Office with this complaint.

     In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
     forma pauperis.




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I.         The Parties to This Complaint

           A.         The Plaintiff(s)

                      Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                      needed.
                            Name
                            All other names by which
                            you have been known:
                            ID Number
                            Current Institution
                            Address

                                                                                                                                Ziv Code


           B.         The Defendant(s) ( 'e€Ft'IZ. ,l) ,tI. ·n-lF ~A-~'~ \t'•'\1.-\1:'.) t.olf'l\.pl.1'-nJ"t"'''              A"°1TA-rt.-l'frf.> 1(
                      Provide the information below for each defendant named in the complaint, whether the defendant is an
                      individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
                      listed below are identical to those contained in the above caption. For an individual defendant, include
                      the person's job or title (if known) and check whether you are bringing this complaint against them in their
                      individual capacity or official capacity, or both. Attach additional pages if needed.

                      Defendant No. 1
                             Name
                             Job or Title (if known)
                             Shield Number
                             Employer
                             Address

                                                                                      Citv                State                 Ziv Code
                                                                            I@ Individual capacity   IIZI Official capacity

                       Defendant No. 2
                             Name
                             Job or Title (if known)
                             Shield Number
                             Employer
                             Address

                                                                                      Citv                State                  Ziv Code
                                                                            ES Individual capacity   ~ Official capacity




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                      Defendant No. 3
                            Name
                            Job or Title ((f known)
                            Shield Number
                            Employer
                            Address

                                                                                                City                State               ZiTJ Code
                                                                            tJ Individual capacity             1181 Official capacity

                      Defendant No. 4
                            Name
                            Job or Title (1f known)
                             Shield Number
                            Employer
                            Address

                                                                                                City                State               Zip Code
                                                                            D Individual capacity               [2l(Official capacity

II.        Basis for Jurisdiction           {1.•£4~;2 ·rD
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           Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
           immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
           Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
           constitutional rights.

           A.         Are you bringing suit against (check all that apply):

                        D    Federal officials (a Bivens claim)

                        ~ State or local officials (a~ 1983 claim)


           B.          Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                       the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                       federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?
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            C.         Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                       are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
                       officials?



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           D.         Section 1983 allows defendants to be found liable only when they have acted "under color of any
                      statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                      42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                      of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                      federal law. Attach additional pages if needed.            L- ..--. _ ..    _.       ,-          i    - , '"T1-tc·                                •
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                     {JtJj,,Z            -en "Ct.A,W\ o ..., C' ' (. , ,. , ""                          T ..._, • ' '    l   <4 , oM      Tl-/ ilf',f"' ''   'k C4           •ot.   f,..;fi'..  J
III.       Prisoner Status

           Indicate whether you are a prisoner or other confined person as follows (check all that apply):
           JSt         Pretrial detainee

           D           Civilly committed detainee

           D           Immigration detainee

           D            Convicted and sentenced state prisoner

           D            Convicted and sentenced federal prisoner

           D            Other (explain)

IV.

          State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
          alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
          further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
          any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
          statement of each claim in a separate paragraph. Attach additional pages if needed.

          A.           If the events giving rise to your claim arose outside an institution, describe where and when they arose.




           B.          If the events giving rise to your claim arose in an institution, describe where and when they arose.




                                                                                                                                                                            Page 4 of 11
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         C.            What date and approximate time did the events giving rise to your claim(s) occur?




          D.           What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                       Was anyone else involved? Who else saw what happened?)




V.        Injuries

          If you sustained injuries related to the events alleged above, describe your injuries and state what medical
          treatment, if any, you required and did or did not receive.

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VI.       Relief

          State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
          If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
          the acts alleged. Explain the basis for these claims.


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         D.           Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
                      concerning the facts relating to this complaint?

                      ·jiU Yes
                       0        No

                      If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
                      other correctional facility?

                       D        Yes

                       0        No


          E.          If you did file a grievance:

                      1.        Where did you file the grievance?




                      2.        What did you claim in your grievance?

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                       3.       What was the result, if any?




                       4.       What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
                                not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)




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         F.           If you did not file a grievance:

                      1.    If there are any reasons why you did not file a grievance, state them here:




                      2.    If you did not file a grievance but you did inform officials of your claim, state who you informed,
                            when and how, and their response, if any:




          G.          Please set forth any additional information that is relevant to the exhaustion of your administrative
                      remedies.




                       (Note: You may attach as exhibits to this complaint any documents related to the exhaustion ofyour
                       administrative remedies.)

VIII. Previous Lawsuits

           The "three strikes rule" bars a prisoner from bringing a civil action or an appeal in federal comi without paying
           the filing fee if that prisoner has "on three or more prior occasions, while incarcerated or detained in any facility,
           brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
           malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
           danger of serious physical injury." 28 U.S.C. § 1915(g).

           To the best of your knowledge, have you had a case dismissed based on this "three strikes rule"?

            D Yes


           If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.




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         A.           Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
                      action?

                       D      Yes

                       5.(l   No


          B.          If your answer to A is yes, describe each lawsuit by answering questions 1 through 7 below. (If there is
                      more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

                      1.      Parties to the previous lawsuit
                              Plaintiff( s)
                              Defendant(s)

                      2.      Court (iffederal court, name the district; if state court, name the county and State)



                      3.      Docket or index number



                      4.      Name of Judge assigned to your case



                       5.     Approximate date of filing lawsuit



                       6.     Is the case still pending?

                              0Yes

                               □ No

                              If no, give the approximate date of disposition.

                       7.     What was the result of the case? (For example: Was the case dismissed? Was judgment entered
                              in your favor? Was the case appealed?)




          C.           Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
                       imprisonment?


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                       D    Yes

                      ..~·No


          D.          If your answer to C is yes, describe each lawsuit by answering questions 1 through 7 below. (If there is
                      more than one lawsuit, describe the additional lawsuits on another page, using the same format.)


                      1.    Parties to the previous lawsuit
                            Plaintiff( s)
                            Defendant( s)


                      2.    Court (iffederal court, name the district; if state court, name the county and State)




                      3.    Docket or index number



                      4.     Name of Judge assigned to your case



                       5.    Approximate date of filing lawsuit



                       6.    Is the case still pending?

                             0Yes

                             □ No
                             If no, give the approximate date of disposition

                       7.    What was the result of the case? (For example: Was the case dismissed? Was judgment entered
                             in your favor? Was the case appealed?)




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VII.      Exhaustion of Administrative Remedies Administrative Procedures                                         .
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          The Prison Litigation Reform Act ("PLRA"), 42 U.S.C. § 1997e(a), requires that "[n]o action shall be brought
          with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
          in any jail, prison, or other correctional facility until such administrative remedies as are available are
          exhausted."

          Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
          exhausted your administrative remedies.

          A.           Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

                         ~ Yes

                         0    No

                       If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
                       events giving rise to your claim(s).




          B.            Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
                        procedure?

                         ~ Yes

                         0     No

                         D     Donotknow


          C.            Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
                        cover some or all of your claims?

                         D     Yes

                         □ No
                         ·~L Do not know
                        If yes, which claim(s)?




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IX.       Certification and Closing

         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
         and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
         requirements of Rule 11.



          A.          For Parties Without an Attorney




                      in the dismissal of my cas e.

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                                                                 <-,
                                                                   L             f___3__
                                                                                            f     I
                      I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                      served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                                                                                    ~



                                                                                  G                                     --
                      Date of signing:                                      I



                      Signature of Plaintiff
                      Printed Name of Plaintiff                        /~\      !i..J;:;;:2'%-f3   ?.~ LA
                      Prison Identification#                    --~~-1~:l~l?_</_,.;.-_'~~~:, _·_________________
                      Prison Address                                   Q()tS">< IS o
                                                                                                            v,--
                                                                                                            State   Zip Code


          B.           For Attorneys

                       Date of signing:


                       Signature of Attorney
                       Printed Name of Attorney
                       Bar Number
                       Name of Law Firm
                       Address

                                                                                           City             State   Zip Code
                       Telephone Number
                       E-mail Address




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